Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 1 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 2 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 3 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 4 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 5 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 6 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 7 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 8 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 9 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 10 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 11 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 12 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 13 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 14 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 15 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 16 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 17 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 18 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 19 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 20 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 21 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 22 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 23 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 24 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 25 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 26 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 27 of 28
Case 1:16-cv-00682-JGK-JLC Document 261 Filed 05/04/18 Page 28 of 28
